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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MARCY RAICH,                                             )
    Plaintiff,                                           )    Civil Action No. 17-0753 (RBW)
                                                         )
v.                                                       )
                                                         )
SONNY PERDUE, in his official capacity,                  )    April 8, 2018
SECRETARY OF AGRICULTURE                                 )
    Defendant.                                           )
                                                         )


                                   MOTION TO WITHDRAW

       The undersigned counsel entered this case for the limited purpose of amending Plaintiff’s

complaint. The amendment now complete, the undersigned respectfully moves that the court grant

his withdrawal. The undersigned certifies, in accordance with Local Rule 83.6(c), that on April 8,

2018 16, 2017, that he sent Plaintiff this motion by U.S. Mail to her last known address of 55 Oak

Ridge Drive Sharpsburg, GA 30277, advised her of his withdrawal, and notified her to either have

a new counsel enter an appearance or to advise the Clerk that she will be proceeding pro se within

seven days of service of this motion. Hopefully, the parties will mediate and settle this case.

                                                      Respectfully Submitted,


                                                       /S/ Glenn Stephens 4/08/2017
                                                      Glenn Stephens Ph.D., Esq.
                                                      Bar No. # 472780
                                                      Federal Employees Defense, LLC
                                                      1725 I Street NW, Suite 300
                                                      Washington, DC 20006
                                                      202-258-6521
                                                      Drghs3@gmail.com




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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MARCY RAICH,                                    )
    Plaintiff,                                  )   Civil Action No. 17-0753 (RBW)
                                                )
v.                                              )
                                                )
SONNY PERDUE, in his official capacity,         )   April , 2018
SECRETARY OF AGRICULTURE                        )
    Defendant.                                  )
                                                )


       AND NOW, this               day of            , upon consideration of the Motion

 to Withdraw, IT IS HEREBY ORDERED, is GRANTED.



                                                    _____________________________




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